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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------X
LAVELLE TODD,
                                                              21-cv-05226-CS
                                   Plaintiff,
                                                              NOTICE OF MOTION
        -against-

A. COLOMBOS,
CORRECTIONAL OFFICER,

                                    Defendants.
-----------------------------------------------------X


        PLEASE TAKE NOTICE that defendant A. COLOMBOS (“Defendant”), by their

attorney, LETITIA JAMES, Attorney General of the State of New York, upon the annexed

Memorandum of Law, will move this Court before the Honorable Cathy Seibel, United States

District Court Judge for the Southern District of New York, at the United States Courthouse located

at 300 Quarropas Street, White Plains, New York, 10601, at a date and time to be determined by

the Court, for an order pursuant to Rule 12(b) (1) and (6) of the Federal Rules of Civil Procedure

dismissing the Amended Complaint on the grounds that: (i) Plaintiff has failed to include non-

conclusory allegations on which a cause of action can be based; (ii) Plaintiff’s alleged deprivation

was reasonably related to the penological interest of institutional security; (iii) Defendant is

entitled to qualified immunity; (iv) plaintiff has failed to suffer a sufficiently serious deprivation

to qualify for cruel and unusual punishment; and (v) because the Eleventh Amendment bars official

capacity damages claims.



        Pursuant to the Court’s May 6, 2022 Order, opposition papers, if any, are due by August

12, 2022; and reply papers, if any, are due by August 26, 2022.
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Dated: New York, New York
       July 12, 2022
                                        Respectfully submitted,

                                        LETITIA JAMES
                                        Attorney General of the
                                        State of New York
                                        Attorneys for Defendants
                                        By:

                                        __/s/ Andrew Blancato__________
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TO:   LAVELLE TODD
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      PO Box 2001
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